Case 2:1079fU!021'79-CIB DPC Poctment’4372-2 Filed 10/21/11 Page 1 of 2

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KENNETH AND VELMA CAMPO Case: # 118-139
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Versus 34" Judicial District Court

. Parish of St. Bernard
BP AMERICA, INC. AND BP EXPLORATION & State of Louisiana

PRODUCTION, INC.

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TO: BP EXPLORATION & PRODUCTION, INC. SEP 30 201f
THRU ITS REGISTERED AGENT: CLERK
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BATON ROUGE, LA 70808

YOU HAVE BEEN SUED. Attached to this Citation is a certified copy of PETITION FOR
DAMAGES. The Petition tells you what you are being sued for.

You must either DO WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (15) DAYS after you
have received these documents, you must file an answer or other Segal pleadings in the office of the Clerk of
Court at the St. Bernard Parish Courthouse, 1100 W. St. Bernard Hwy, Chalmette, LA’ 70043.

If you do not do what the Petition asks, or if you do not file an answer or legal pleading within
FIFTEEN (15) DAYS, a judgment may be entered against you without further notice.

This Citation was issued by the Clerk of Court for St. Bernard Parish, Louisiana on the 9"
SEPTEMBER, 2011.

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the same at domicile this Parish in the hands of

a person apparently over the age of 14 years living and residing in said domicile,
whose name and other facts, connected with this service I learned by interrogating the same
the said being absent from domicile

at the time of said service.
Returned Parish of St. Bernard :

Sheriff
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Parish his usual place of domicile, in the Parish of St. Bernard, by handling and delivering the same to in
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. Sheriff

EXHIBIT

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KENNETH AND VELMA CAMPO Case: # 118-139

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